 Case 1:23-cv-00351-CFC Document 28 Filed 06/12/23 Page 1 of 2 PageID #: 301

    NEW YORK                                                                                                HANOI
     LONDON                                                                                            HO CHI MINH CITY
    SINGAPORE                                                                                              SHANGHAI
   PHILADELPHIA                                 FIRM and AFFILIATE OFFICES                                 ATLANTA
     CHICAGO                                                                                              BALTIMORE
  WASHINGTON, DC                                                                                         WILMINGTON
  SAN FRANCISCO                                                                                             MIAMI
                                                 MONTÉ T. SQUIRE
  SILICON VALLEY                                                                                         BOCA RATON
                                            DIRECT DIAL: +1 302 657 4918
    SAN DIEGO                                                                                             PITTSBURGH
                                           PERSONAL FAX: +1 302 397 2543
   LOS ANGELES                            E-MAIL: MTSquire@duanemorris.com                                 NEWARK
     BOSTON                                                                                               LAS VEGAS
     HOUSTON                                     www.duanemorris.com                                     CHERRY HILL
     DALLAS                                                                                               LAKE TAHOE
   FORT WORTH                                                                                             MYANMAR
      AUSTIN
                                                                                                      ALLIANCES IN MEXICO




June 12, 2023

VIA ECF
The Honorable Colm F. Connolly
United States District Court
District of Delaware
J. Caleb Boggs Federal Building
844 North King Street
Wilmington, DE 19801
         Re:       JOINT LETTER
                   Yellow Social Interactive Limited v. Edwards, 23-cv-00351-CFC
                   Yellow Social Interactive Limited v. Ebersole, 23-cv-00352-CFC
Dear Judge Connolly:

       Plaintiff Yellow Social Interactive Limited (“YSI”) and Defendants Ashley
Edwards (“Edwards”) and Christopher Ebersole (“Ebersole”) respectfully submit
this joint letter pursuant to this Court’s June 6, 2023 Oral Order directing the
parties to state their positions on consolidation of the two above-referenced actions
and the status of the arbitration proceedings.

         Consolidation
         The parties do not have any objections to consolidation of the two actions.

         Status of Arbitration

    Both the Edwards and Ebersole arbitrations are currently stayed before the
AAA. By agreement of the parties, on April 24, 2023, the parties submitted a joint
D UANE M ORRIS LLP
1201 NORTH MARKET STREET, SUITE 501   WILMINGTON, DE 19801-1160              PHONE: +1 302 657 4900   FAX: +1 302 657 4901
 Case 1:23-cv-00351-CFC Document 28 Filed 06/12/23 Page 2 of 2 PageID #: 302



The Honorable Colm F. Connolly
June 12, 2023
Page 2

request to the AAA to stay the arbitrations pending resolution by the Court of the
Parties’ respective motions to compel arbitration filed on April 11 and 12, 2023.

       On April 25, 2023, the AAA confirmed receipt of the parties’ Joint Request
in the Edwards arbitration and granted the stay. That same day, Arbitrator Michael
Stith also granted the request for the stay in the Ebersole Arbitration and instructed
the parties to notify the AAA with the outcome of the Court’s decision on the two
motions.

                                            Respectfully submitted,

  DUANE MORRIS LLP                         THE LAW OFFICE OF JAMES
                                           TOBIA, LLC
  /s/ Monté T. Squire
  Monté T. Squire (No. 4764)               /s/ James Tobia
  1201 N. Market St., Suite 501            James Tobia (No. 3798)
  Wilmington, Delaware 19801               1716 Wawaset Street
  Telephone: (302) 657-4900                Wilmington, Delaware 19806
  mtsquire@duanemorris.com                 Telephone: (302) 655-5303
                                           jtobia@tobialaw.com
  Counsel for Plaintiff
                                           Counsel for Defendants

cc:   All Counsel of Record (via CM/ECF)
